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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Criminal Case No. .FL
06ms&”3
Plaintiff, _I_NEQ_BMAILQN

Secs. 952 and 960 - Importation

JAVIER ASTORGA REYES, of Marijuana (Felony)

)
)
§

v. ) Title 21, U.S.C.,
)
)
)
Defendant. )
)

 

The United States Attorney charges:

On or about April 18, 2006, within the Southern District of
California, defendant JAVIER ASTORGA REYES, did knowingly and
intentionally import approximately 46.88 kilograms {approximately
103.13 pounds) of marijuana, a Schedule I Controlled Substance, into
the United States frmn a place outside thereof; in violation of

Title 21, United States Code, Sections 952 and 960.

DATED: S‘-H»-O¢'

CAROL C. LAM
United States Attorney

fLJ,¢MF/~

LAWRENCE A. CASPER
Assistant U.S. Attorney

ADBL:psd:Imperial

4/26/06 ge

 

